Case 1:15-cv-00218-JFB-SRF Document 441 Filed 04/03/19 Page 1 of 2 PageID #: 35557



                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

  BARD PERIPHERAL VASCULAR, INC.,                            )
                                                             )
                         Plaintiff and Counterclaim-         )
                         Defendant,                          )
                                                             )
          v.                                                 )        C.A. No. 15-218-JFB-SRF
                                                             )
  ANGIODYNAMICS, INC.,                                       )
                                                             )
                         Defendant and Counterclaim-         )
                         Plaintiff.                          )



                            NOTICE OF APPEAL TO THE
            UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT

           Plaintiff Bard Peripheral Vascular, Inc. (“Bard”) hereby appeals in the above-entitled

  action to the United States Court of Appeal for the Federal Circuit from the District Court’s order

  on March 7, 2019, the Court’s Memorandum and Order of February 28, 2019 (DI 416) which

  overruled Bard’s objections to the Magistrate Judges Report and Recommendations (DI 393) and

  from any and all other orders, rulings, findings, and/or conclusions that were adverse to

  Plaintiff. Although no separate document entering judgment appears on the docket, the District

  Court’s March 7 oral ruling granted judgment as a matter of law on invalidity and thereby

  terminated the case. To protect its right to appeal that decision and to remove any doubt as to the

  timeliness of its appeal, Plaintiff files this notice of appeal. Under Federal Rule of Appellate

  Procedure 4(a)(2), if this notice of appeal is not effective when filed, it will become effective when

  the court enters final judgment.




  {01436397;v1 }
Case 1:15-cv-00218-JFB-SRF Document 441 Filed 04/03/19 Page 2 of 2 PageID #: 35558




                                          ASHBY & GEDDES

                                          /s/ John G. Day

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   Dated April 3, 2019




  {01436397;v1 }                     2
